                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI



UNITED STATES OF AMERICA

                              Plaintiff,

-vs-                                         Case No.   18-00153-01-CR-W-RK

Joel Jerome Tucker,

                        Defendant.
_____________________________________


                                   ORDER APPOINTING
                                FEDERAL PUBLIC DEFENDER

       The above-named defendant, not having waived counsel, it is
       ORDERED that Laine Cardarella, Federal Public Defender, and Steve Moss, William M.
Ermine, Anita Burns, Travis Poindexter, Robert Kuchar, Ronna Holloman-Hughes, William
Raymond, Carie Allen, Todd M. Schultz and Allison McKinsey English, Assistant Federal
Public Defenders, Scarritt Building, Suite 300, 818 Grand Avenue, Kansas City, Missouri 64106,
telephone number (816) 471-8282; David R. Mercer, Ann Koszuth, Michelle Nahon, Ian A.
Lewis and Michelle Law, Assistant Federal Public Defenders,    901 St. Louis Street, Suite 801,
Springfield, Missouri 65806, telephone number (417) 873-9022     and Troy Stabenow, Assistant
Federal Public Defender, 221 Bolivar Street, Suite 104, Jefferson City, MO 65101, telephone
number (573) 636-8747, be, and they are hereby, appointed to represent the defendant before the
Court and in all proceedings thereafter unless and until relieved by order of the United States
District Court for the Western District of Missouri.




Kansas City, Missouri
July 10, 2018



/s/ Matt J. Whitworth
MATT J. WHITWORTH
UNITED STATES MAGISTRATE JUDGE




           Case 4:18-cr-00153-RK Document 8 Filed 07/10/18 Page 1 of 1
